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PRISONER’S CIVIL RIGHTS COMPLAINT (Rev. 05/2015)
IN THE UNITED STATES DISTRICT COURT i ted states District Court
FOR THE SoufheRs/__ DISTRICT OF TEXAS southern Distict of Texas
ouston DIVISION FILED

Epre Demoild Lozsavo #/Y5276 APR 18 2018
Plaintiff’s Name and ID Number

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Place of Confinement

 

David J, Bradley, Clerk of Court

CASE NO.
(Clerk will assign the number)

 

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A400 Whjlher Pek Rd. Navasobr Texas 70568 DAvLd E, hzcho!s

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Defendant’s Name and Address

 

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Defendant’s Name and Address 77868 AYOO wlbite f? ACK, kd
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INSTRUCTIONS - READ CAREFULLY

NOTICE:

Your complaint is subject to dismissal unless it conforms to these instructions and this form.

1. To start an action you must file an original and once copy of your complaint with the court. You should keep
a copy of the complaint for your own records.

2. Your complaint must be legibly handwritten, in ink, or typewritten. You, the plaintiff, must sign and declare
under penalty of perjury that the facts are correct. If you need additional space, DO NOT USE THE REVERSE
SIDE OR BACKSIDE OF ANY PAGE. ATTACH AN ADDITIONAL BLANK PAGEAND WRITE ONIT.

3. You must file a separate complaint for each claim you have unless the various claims are all related to the same
incident or issue or are all against the same defendant, Rule 8, Federal Rules of Civil Procedure Make a short and
plain statement of your claim, Rule 8, Federal Rules of Civil Procedure.

4, When these forms are completed, mail the original and once copy to the clerk of the United States district court
for the appropriate district of Texas in the division where one or more named defendants are located, or where the
incident giving rise to your claim for relief occurred. If you are confined in the Texas Department of Criminal
Justice, Correctional Institutions Division (TDCJ-CID) , the list labeled as “VENUE LIST” is posted in your unit
law library. It is a list of the Texas prison units indicating the appropriate district court, the division and an address
list of the divisional clerks.

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FILING FEE AND IN FORMA PAUPERIS (IFP)

1. In order for your complaint to be filed, it must be accompanied by the statutory filing fee of $350.00 plus an
administrative fee of $50.00 for a total fee of $400.00

2. Ifyou do not have the necessary funds to pay the fee in full at this time, you may request permission to proceed
in forma pauperis. In this even you must complete the application to proceed in forma pauperis, setting forth
information to establish you inability to prepay the fees and costs or give security therefor. You must also include
a current six-month history of you inmate trust account. If you are an inmate in TDCJ-CID, you can acquire the
application to proceed in forma pauperis and the certificate of inmate trust account, also known as in forma
pauperis data sheet, from the law library at you prison unit.

3. The Prison Litigation Reform Act of 1995 (PLRA) provides “... if a prisoner brings a civil action or files an
appeal in forma pauperis, the prisoner shall be required to pay the full amount of a filing fee.” See 28 U.S.C.
§ 1915. Thus, the court is required to assess and, when funds exist, collect, the entire filing fee or a initial partial
filing fee and monthly installments until the entire amount of the filing fee has been paid by the prisoner. If you
submit the application to proceed in forma pauperis, the court will apply 28 U.S.C. § 1915 and, if appropriate,
assess and collect the entire filing fee or an initial partial filing fee, then monthly installments from you inmate trust
account, until the entire $350.00 statutory filing fee has been paid. (The $50.00 administrative fee does not apply —
to cases proceeding in forma pauperis.)

4. Ifyou intend to seek in forma pauperis status, do not send you complaint without an application to proceed

in forma pauperis and the certificate of inmate trust account. Complete all essential paperwork before submitting
it to the court.

CHANGE OF ADDRESS

It is your responsibility to inform the court of any change of address and its effective date. Such notice should be
marked “NOTICE TO THE COURT OF CHANGE OF ADDRESS” and shall not include any motion for any

' other relief. Failure to file a NOTICE OF THE COURT OF CHANGE OF ADDRESS may result in the dismissal

of your complaint pursuant to Rule 41(b), Federal Rules of Civil Procedure.

I. PREVIOUS LAWSUITS:
A. Have you filed any other lawsuit in state or federal court relating to your imprisonment? X YES ___NO

B. If your answer to “A” is “yes”, describe each lawsuit in the space below. (If there is more than one
lawsuit, describe the additional lawsuits on another piece of paper, giving the same information.)

1. Approximate date of filing lawsuit: Suqust (5, 2olb / SAslUsbey la, LO/S
2. Parties to previous lawsuit: Y

Plaintiff(s) Ere 2), Loz plod / Efre DL. Loz pio

Defendant(s) LokzZe DAVIS ef, te, / Lokze Daurs ef AL;

Court: (If federal, name the district; if state, name, the county.) Southehu / East; Chr
Cause number: 4: /o-CV- 02507 / [i1B-CU-16 ,

Name of judge to whom case was assigned: Ki exh L. Ell; Sand ] CRojle- - Hawthoke
Disposition: (Was the case dismissed, we ealed, ey Pi) : Both Stell Perlolsily

Approximate date of disposition:

An M FF &

 

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PLACE OF PRESENT CONFINEMENT: STRING Fellow) UNE,

EXHAUSTION OF GRIEVANCE PROCEDURES: - /
Have you exhausted all steps of the institutional grievance procedure? YES __NO

Attach a copy of your final step of the grievance procedure with the response supplied by the institution.

PARTIES TO THIS SUIT:
A. Name and address of plaintiff: EOL Cc DEMON af Lo ZANO
SthkzngPMos Asef /200 Fm 55
Roshshow , TedaS 17583

B. Full name of each defendant, his official position, his place of employment, and his full mailing address.

Defendant #1: DE BokAH L. Schu beat Ketehens Cypftzal ZDCT
Yoo Wellace Pick Rd, plavasota Texas 77668

Briefly describe the act(s) or omission(s) of this a which you claimed harmed you.

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~ Defendant #2: Kobeet dD. He eRRERA Herd Ltthdes! 7OCT
2400 Walfyee THK kd rltvasoba, TacrS TIE

Briefly describe the acts(s) or omission(s) of this defendant which you claimed harmed you.

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Defendant #3: Bul &. jzlder3 Asst bodes) 7DAT-
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Defendant #4: DY utd E. Leh ols C 3 sole! ey
AY00 Liifltte LAK kd, sharsofs ,LeoS 77668

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Defendant #5: Amy olzver Crktevanlte Coop dexlatap TOC S
2400 lwulate frtk Rd, livesets TescS 77508

Briefly describe the act(s) or omission(s) of this defendant which you claimed an you.

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STATEMENT OF CLAIM:

State here in a short and plain statement the facts of your case that is, what happened, where did it happen,

when did it happen, and who was involved. Describe how each defendant is involved. You need not give
any legal arguments or cite any cases or statutes. If you intend to allege a number of related claims, number

and set forth each claim in a separate paragraph. Attach extra pages if necessary, but remember the
complaint must be stated briefly and concisely. IF YOU VIOLATE THIS RULE, THE COURT MAY

STRIKE YOU COMPLAINT.
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RELIEF:

State briefly exactly what you want the court to do for you. Make no legal arguments. Cite no cases or
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GENERAL BACKGROUND INFORMATION:

A. State, in complete form, all names you have ever used or been known by including any and ail aliases.

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B. List all TDCJ-CID identificaiton numbers you have ever been assigned and all other state or federal
prison or FBI numbers ever assigned to you.

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SANCTIONS:
A. Have you been sanctioned by any court as a result of any lawsuit you have filed? YES iv NO

B. If your answer is “yes,” give the following information for every lawsuit in which sanctions were
imposed. (If more than one, use another piece of paper and answer the same questions.)

 

. Court that imposed sanctions (if federal, give the a and pe

Case number:

 

1
2
3. Approximate date sanctions were imposed: J A} f /]
4, Have the sanctions been lifted or otherwise satisfied? - YES NO

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C. Has any court ever warned or notified you that sanctions could be imposed? YES. NO

D. If your answer is “yes,” give the following information for every lawsuit in which a warning was issued.

Executed on:

(If more than one, use another piece of paper and answer the same —“l /

1. Court that issued’ warning (if federal, give the district and division): /

2. Case numb ; / / /

3. Approxim¢t¢ date warning was issued: / | / / /
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(Signature of Plaintiff)

 

 

 

PLAINTIFF’S DECLARATIONS

1.

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I declare under penalty of perjury all facts presented in this complaint and attachments hereto are true
and correct/

I understand, if I am released or transferred, it is my responsibility to keep the court informed of my
current mailing address and failure to do so may result in the dismissal of this lawsuit.

I understand I must exhaust all available administrative remedies prior to filing this lawsuit.
I understand I am prohibited from brining an in forma pauperis lawsuit if I have brought three or more
civil actions or appeals (from a judgment in a civil action) in a court of the United States while
incarcerated or detained in any facility, which lawsuits were dismissed on the ground they were
frivolous, malicious, or failed to state a claim upon which relief may be granted, unless I am under
imminent danger of serious physical injury.

. [understand ever ifI am allowed to proceed without prepayment of costs, I am responsible for the entire

filing fee and costs assessed by the court, which shall be deducted in accordance with the law from my
inmate trust account by my custodian until the filing fee is paid.

Signed this O o day of Af. kL / , 20 / 6

 

 

(Day) (month) (year)

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(Signature of Pfaintiff)

WARNING: Plaintiff is advised any false or deliberately misleading information provided in response to the
above questions may result in the imposition of sanctions. The sanctions the court may impose include, but
are not limited to, monetary sanctions and the dismissal of this action with prejudice.

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ame ge Texas Separtment of Crisninal Justice | ONFICE USE ONLY
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Offender Name: CIC dD do LAN O TDCJ # zm 1S. 2/7 A Investigator ID #: 1.

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_ What was their response? bse dey on bck do K ashe, fe. Bs eke, G Oh Ake Of SAR UTE, wm ode.

What action was taken?

  

 

 

State your grievance in-the sp age provided.. Please state who, what. a " bapfotie and th Voape bn case number if appropriate / a ;

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~ Offender Signature: Esc. LO Ait Date: g- 3O L?_

 

Grievance Response:

 

Food service staff state you are not on the list to receive Kosher food. Your religious designation is Muslim.
Per the Religious Diet Plan of the Chaplaincy Manual it is the offender's responsibility to follow dietary
preferences ‘or restrictions based upon his designated faith»preference by selecting an appropriate food
tray or menu plan choice from the available options in accordance with the Menu Selection Plan in the
Food Services Manual. Food service provides meat free/pork free options at every meal service.

Asst. Warden Wilder

Signature Authority: /

If you are dissatisfied with the Step 1 res sponse, you may submit a Step 2 (128) to the Unit Grievance Investigator within 15 days from the date of the Step 1 response.
State the reason fer appeal on the Step|? Form. .

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Grievance #:

 

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Screening Criteria Used:

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Grievance #:

 

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Application of the screening criteria for this grievance is not expected to adversely
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SPH % Date Received: SEP 08 2017
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Sy _ Cole Date Due: {ols iN

Grievance Code: _ S@o.

Offender Name: Sere. D Lorpno rocs#_17 (S226 ~ | Investigator ID a 9437

Unit: Ligllece Losck Housing Assigument: _ Ae Extension Date: _.
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Who did you talk to (name, title)?
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What action .was taken? ALont é -

  
 

What was their response? Can belo bu

 

State your grievance in the space p et Please state who, what, when, w wpere pe te nd the ead case number if appropriate

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- Offender Signature: E74 “ :
Grievance Response:

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Date: 7-2-1 ?

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deen reviewed and investigated. Per the Religious Diet Plan-03.01 of the Chaplaincy
ponsibility of the offender to follow the dietary preference or restrictions based upon.

preference by selecting an appropriate food tray or menu plan choice from the
accordance with the Menu Selection Plan in the Food Services Procedures Manual.
es your allegation stating you were informed in a professional manner that you were
at she did not control who is placed on the list. You are provided pork free/meat free _

items from ine availsble menu plan. No further action is warranted.

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ae

- Signature Authority: A

If you are dissatisfied with the Step 1 r
State the reason for appeal on the Step)?

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Asst. Warden Wilder

Date: JOM l

esponse, you may submit a Step 2 (1-128) to the Unit Grievance Investigator within 15 days from the date of the Step 1 response.

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Screening Criteria Used:-~
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Appendix

 

 

 

 

 

 
 

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Texas Department of Criminal Justice FICE USE ONLY

Grievance #:

 

OFFENDER
STEP 1 GRIEVANCE FORM

Date Received:

Date Due:

 

 

Grievance Code:

Offender Name: ELL a D Lo? aslo TDCI # 9/52 2b Investigator ID #:

 

 

 

 

Unit: bdalfede Lack Housing Assignment: 6 7 Yo Extension Date:
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Offender Signature: oe

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Grievance Response:

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Appendix F
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Texas Department of Criminal Justice _ OFFICE USE ONLY.
Grievance #: Zol¥ 022662
‘STEP 1 _OFFENDER - “Date Received: bd d g 20t?, . .
GRIEVANCE FORM fe 8 ns
Date Due: wb 4 § 2017

 

 

_ Grievance Code: 52?

 

. Offender Name: ere: D lorane tocy#_/ 7/5276 qS 226 “Investigator ID #; ZS WP
Unit: ef Housing Assignment: J. bo 7 - Extension Date: _\. a
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What action was taken? 7el ‘f Me fe Ge get | a ut ioniedlen’ Z EAce
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ptate your grievance in the space provided. Pleqse state who, what, when, where and the disciplinary case number if appropriate .
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Offender Signature:

Grievance Response:

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Grievance #:

 

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Appendix F

 

 
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KEN PAXTON

ay ATTORNEY GENERAL OF TEXAS
February 8,2017 , E

Eric Demond Lozano, No. 01915276
TDCJ - Stringfellow Unit

1200 FM 655

Rosharon TX 77583

Re: Civil Action No. 4:16-cv-2507; Eric Demond Lozano v. Lorie Davis, et al;

~Tn the ‘USDC Southern District of Texas, Houston Division

Dear Mr. Lozano:

I hope this letter finds you well. After our conversation yesterday, I reached out to Chaplain Shabazz
and Chaplain Shakir regarding your move to the Stringfellow Unit. Because of the current Muslim
Chaplain vacancy for your area, both Chaplain Shabazz and Chaplain Shakir are covering the
Stringfellow Unit. The next time that they are at the Stringfellow Unit, they will visit with you to
ensure that all is going well.

If any issue arises before either one is able to visit the Stringfellow Unit, please write Chaplain
Shakir with your concerns:

Chaplain O. Shakir, Area Muslim Chaplain
‘Dominguez State Jail

6535 Cagnon Road
. San Antonio, Texas 78252.

Of course, you may also visit with the unit chaplain and with Rabbi Goldstein with any issues.

As a side note, I am going to ask the Court for a 80-day extension of time regarding the deadline for
the filing of the Defendants’ dispositive motion; currently due February 23", This will give you timé
to acclimate yourself with the Kosher kitchen and see if this accommodation works for you.

I hope that all goes well with you and your participation in the Kosher diet program.
Sincerely,

Is! Celamaine Cunniff

CELAMAINE CUNNIFF

Assistant Attorney General '
Law Enforcement Defense Division

(512) 463-2080 / Fax: (512) 986-2109

CC/ms

Encl

Cc: File

Post Office Box 12548, Austin, Texas 78711-2548 * (512) 463-2100 + www. texasattorneygeneral.gov
SUB ECT: State briefly the problem on which you desire assistance.

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Case 4:18- cl 01183 Document 1 Filed on 04/13/18 in TXSD Page 24 of 26
TEXAS DEPARTMENT OF CRIMINAL JUSTICE — INSTITUTIONAL DIVISION

INMATE REQUE ST TO OFFICIAL

REASON FOR REQUEST: (Please check one)

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PROPER PERSON, AND GET AN ANSWER TO YOU MORE QUICKLY.

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2. QO Restoration of Lost ovértime (Unit Warden-if approved, it 6. Parolé requirements and related information (Unit Parcle
will be forwardedto the State Disciplinary Committee) © Counselor)

  
   
 

   

3. OF Request’ for Promotion lin Class or to Trusty Class : 7, © Inmate Prison Record (Request for copy of record, infor-
(Unif Warden- if approved, will be forwarded to the Director = « “s2,~ . matier:-empatole-eligibility, discharge date, detainers-Unit
_icasstcaton) Administration)
4. Clemency-Pardon, parole, early out-mandatory supervision , 8. UO Personal. interview with a representative of an outside
(Board of Pardons and Paroles, 8610 Shoal Creek Bivd. . agency (Treatment Division, Administration Building)
- Austin, Texas 78757) - ,
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‘DATE: 3-17-18

 

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